                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF WISCONSIN

 In re:
 FRENCH, LISA                                                    CASE NO. 18-22484-KMP

          Debtor.                                                CHAPTER 7


                       ORDER ALLOWING ADMINISTRATIVE CLAIMS


        Upon the motion of Michael F. Dubis, Trustee herein, administrative claims are hereby
 allowed in the amounts shown:


                    Claimant                              Total Being Interim Already Total Allowed
                                                          Requested          Paid*


    Michael F. Dubis, Trustee Compensation                 $1,644.84         $0.00       $1,644.84


    Michael F. Dubis, Trustee Expenses                         $3.75         $0.00         $3.75




                               Total                         $1,648.59      $0.00       $1,648.59

* Or amount being held as a retainer by an attorney.
All fees and expenses allowed except as note above.

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